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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe   Store Name                   Merchant ID                  URL
 31    Armand Makeup Store          2945169                      https://www.aliexpress.com/store/2945169
 39    Beautiful everyday Store     3552014                      https://www.aliexpress.com/store/3552014
 40    Beautiful Intentions Store   2343090                      https://www.aliexpress.com/store/2343090
 53    Boboby Brown Store           2882287                      https://www.aliexpress.com/store/2882287
 107   Lifeshop Store               3569023                      https://www.aliexpress.com/store/3569023
 138   Nail Goddess Store           2836023                      https://www.aliexpress.com/store/2836023
 283   TOOPOOT                      ALDM5WEA0X8MN
 286   Tupor                        AUQUXOECU8CEF
 297   ZYooh                        A32Y998CR01B36
 391   armmaboutique                5873a348a8174f4d4efaa45a



Dated: April 17, 2019
                                              Respectfully submitted,


                                              By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
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                                        Law Office of David Gulbransen
                                        805 Lake Street, Suite 172
                                        Oak Park, IL 60302
                                        (312) 361-0825 p.
                                        (312) 873-4377 f.
                                        david@gulbransenlaw.com




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